  Case 23-10740       Doc 32   Filed 10/30/23 Entered 10/30/23 16:01:59               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                   BK No.:   23-10740
Elsie Melvin                                 )
                                             )                   Chapter: 13
                                             )
                                                             Honorable Jacqueline P Cox
                                             )
                                             )
               Debtor(s)                     )

                   ORDER GRANTING MOTION FOR RELIEF FROM STAY

        This cause coming to be heard on the Motion of Select Portfolio Servicing, Inc. as the servicing
agent for Wilmington Savings Fund Society, FSB, not in its individual capacity but solely as Owner
Trustee of CSMC 2018-RPL3 Trust, (“Creditor”) for relief from the automatic stay,

   IT IS HEREBY ORDERED:

  1. The motion is granted. The stay is modified so as not to restrain Creditor from pursuing in rem
non-bankruptcy remedies as to the property commonly known as 15215 Wabash Avenue, South
Holland, IL 60473.

  2. The stay in Rule 4001(a)(3) does not apply to this order.




                                                          Enter:


                                                                     Timothy A. Barnes
Dated: October 30, 2023                                              United States Bankruptcy Judge

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